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 1 ALEXANDER B. TRUEBLOOD (Bar No. 150897)
     TRUEBLOOD LAW FIRM
 2 10940 Wilshire Boulevard, Suite 1600
     Los Angeles, California 90024
 3 Telephone: (310) 443-4139
     Facsimile: (310) 943-2255
 4
     Attorneys for Plaintiff
 5 GENOVEVO GARCIA
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 7
                               UNITED STATES DISTRICT COURT
 8
                          CENTRAL DISTRICT OF CALIFORNIA
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10
     GENOVEVO GARCIA,                )      Case No: 15-CV-04547
11                                   )
                                     )
12             Plaintiff,            )      COMPLAINT FOR VIOLATIONS
                                     )      OF THE FAIR CREDIT
13        vs.                        )      REPORTING LAWS
                                     )
14                                   )
     GLENDALE NISSAN/INFINITI, INC., )
15   and DOES 1-10, inclusive,       )
                                     )
16                                   )
               Defendants.           )
17                                   )
                                     )
18                                   )
                                     )
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20                                   )
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21                                   )
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                                                               COMPLAINT
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         Plaintiff Genovevo Garcia hereby complains against defendants Glendale
   Nissan/Infiniti, Inc. (hereinafter “Glendale Nissan”) and Does 1-10, and alleges on
   information and belief as follows:
                                 PRELIMINARY STATEMENT
         1.     Plaintiff brings this action for damages based upon defendants’
   violations of the Fair Credit Reporting Act, 15 U.S.C. §§ 1681 et seq. (“FCRA”)
   and the Consumer Credit Reporting Agencies Act, Civil Code § 1785.1, et seq.
   (“CCRAA”). Defendants violated the FCRA and CCRAA when they accessed
   plaintiff’s credit reports, containing his private personal and financial data, without
   a permissible purpose under these laws.
                                 JURISDICTION AND VENUE
         2.     The court has jurisdiction over this matter pursuant to 15 U.S.C. §
   1681p. The court has supplemental jurisdiction over the state law claims pursuant
   to 28 U.S.C. § 1367.
         3.     Venue is proper in the Central District of California because all
   defendants reside in this district. Defendants have substantial contacts with
   California and are subject to personal jurisdiction in this state.
                                          PARTIES
         4.     Plaintiff is a natural person and is a resident and a citizen of the State
   of California.
         5.     Defendant Glendale Nissan/Infiniti, Inc. is a California corporation
   doing business and maintaining one or more offices in Southern California.
         6.     Defendants Does 1 through 10 are persons or entities whose true
   names and capacities are presently unknown to plaintiff, and who therefore are sued
   by such fictitious names. Plaintiff is informed and believes and thereon alleges
   that each of the fictitiously named defendants perpetrated some or all of the
   wrongful acts alleged herein, is responsible in some manner for the matters alleged
   herein, and is jointly and severally liable to plaintiff. Plaintiff will seek leave of
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                                                                          COMPLAINT
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   court to amend this complaint to state the true names and capacities of such
   fictitiously named defendants when ascertained.
          7.     At all times mentioned herein, each defendant was the agent or
   employee of each of the other defendants and was acting within the course and
   scope of such agency or employment. The defendants are jointly and severally
   liable to plaintiff.
                                   STATEMENT OF FACTS
          8.     The FCRA and CCRAA permit a company to access a consumer’s
   credit report only for certain limited permissible purposes. Those permissible
   purposes include: credit applications by the consumer, insurance, employment,
   public benefits and licenses, child support enforcement, and counter-intelligence.
   Unless a user of a credit report has one of the listed permissible purposes, accessing
   the consumer’s credit report is unlawful.
          9.     A user of a consumer report must also certify in writing to the
   consumer credit reporting agency which permissible purpose applies when it
   accesses the consumer’s report. The FCRA thus not only prohibits access for an
   impermissible purpose, but also access for any purpose without a proper
   certification in writing.
          10.    The FCRA and CCRAA provide aggrieved consumers with a private
   right of action for actual damages, punitive damages, and attorneys fees and costs.
   In addition, the FCRA makes knowing and willful access to a credit report under
   false pretenses a crime. 15 U.S.C. § 1681q.
          11.    Plaintiff visited Glendale Nissan, a car dealership, in order to browse
   vehicles for a possible purchase. Plaintiff left the dealership without applying for
   credit, or purchasing a vehicle, and defendants had no permission to access
   plaintiff’s credit reports. Nonetheless, defendants accessed plaintiff’s credit files,
   without any permissible purpose.
          12.    Plaintiff is informed and believes, and thereon alleges, that defendants
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                                                                         COMPLAINT
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   also did not properly certify in writing to the credit reporting agencies the purpose
   for which they used plaintiff’s credit report, thereby violating the Act even if they
   had had a permissible purpose.
                            FIRST CAUSE OF ACTION
       (Against all Defendants for Violations of the Fair Credit Reporting Act,
                              15 U.S.C. § 1681 et seq.).
         13.    Plaintiff realleges and incorporates herein by reference the allegations
   of all paragraphs above.
         14.    Defendants violated 15 U.S.C. § 1681b(f) by using or obtaining
   plaintiff’s consumer report for a purpose not authorized by 15 U.S.C. § 1681b.
         15.    Defendants violated 15 U.S.C. § 1681b(f) by using or obtaining
   plaintiff’s consumer reports for a purpose not certified by defendants in accordance
   with 15 U.S.C. § 1681e.
         16.    Defendants violated 15 U.S.C. § 1681q by knowingly and willfully
   obtaining information on plaintiff from a consumer reporting agency under false
   pretenses.
         17.    Defendants’ violations described above were willful.
         18.    Defendants’ violations described above were negligent.
         19.    Plaintiff has suffered actual damages as a result of defendants’
   violations, and is entitled to recover such actual damages, or damages of not less
   than $100 or more than $1000, pursuant to 15 U.S.C. §§ 1681n and 1681o.
         20.    Plaintiff is entitled to recover punitive damages pursuant to 15 U.S.C.
   § 1681n.
         21.    Plaintiff is entitled to recover the costs of the action, together with a
   reasonable attorneys fee, pursuant to 15 U.S.C. §§ 1681n and 1681o.
         WHEREFORE, plaintiff prays for relief as set forth below.




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                         SECOND CAUSE OF ACTION
     (Against all Defendants for Violations of the California Consumer Credit
             Reporting Agencies Act, Cal. Civil Code § 1785.1 et seq.)
         22.     Plaintiff realleges and incorporates herein by reference the allegations
   of all paragraphs above.
         23.     Defendants violated Civil Code § 1785.19(a)(1) by knowingly and
   willfully obtaining access to plaintiff’s credit file without one of the permissible
   purposes authorized by Civil Code § 1785.11.
         24.     Defendants violated Civil Code § 1785.19(a)(2) by knowingly and
   willfully obtaining data from plaintiff’s credit file without one of the permissible
   purposes authorized by Civil Code § 1785.11.
         25.     Defendants violated Civil Code § 1785.19(a)(3) by using data received
   from plaintiff’s credit file in a manner contrary to an agreement with a consumer
   credit reporting agency.
         26.     Plaintiff has suffered actual damages as a result of defendants’
   unlawful acts.
         27.     Defendants’ violations of the Consumer Credit Reporting Agencies
   Act were negligent, entitling plaintiff to recover actual damages pursuant to Civil
   Code § 1785.31.
         28.     Defendants’ violations of the Consumer Credit Reporting Agencies
   Act were willful, entitling plaintiff to recover punitive damages of $5,000 per
   violation, and any other relief the court deems proper, pursuant to Civil Code §
   1785.31.
         29.     Plaintiff is entitled to a statutory penalty of $2,500 for each of
   defendant’s violations of Civil Code § 1785.19(a), pursuant to Civil Code §
   1785.19(b).
         30.     Plaintiff is entitled to an award of attorneys fees and costs pursuant to
   Civil Code § 1785.31(d) and 1785.19(b).
         WHEREFORE, plaintiff prays for relief as set forth below.
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                                 PRAYER FOR RELIEF
         WHEREFORE, plaintiff prays for the following relief:
         1. For compensatory damages;
         2. For statutory damages or penalties;
         3. For punitive damages;
         4. For pre-judgment interest to the extent permitted by law;
         5. For an award of attorneys’ fees, costs and expenses incurred in the
   investigation, filing and prosecution of this action; and
         6. For such other and further relief as the Court may deem just and proper.


                             DEMAND FOR JURY TRIAL
         Plaintiff hereby demands a trial by jury under the United States Constitution.

   Dated: June 15, 2015                      TRUEBLOOD LAW FIRM



                                             By:   ______/s/______________________
                                                   Alexander B. Trueblood
                                             Attorneys for Plaintiff
                                             GENOVEVO GARCIA




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                                                                        COMPLAINT
